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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                   NO. 4:09CR00341-03 JLH

JANICE LANELL REED                                                                DEFENDANT

                                            ORDER

       Court convened on Thursday, January 19, 2012, for a scheduled hearing on the government’s

motion to revoke defendant’s probation. Assistant United States Attorney Michael S. Gordon was

present for the government. The defendant appeared in person with her attorney, Assistant Federal

Public Defender Omar F. Greene, II. United States Probation Officers Satori Barnes and Joel

Humphrey were also present.

       Following witness testimony and argument from counsel, the Court denied the Motion to

Revoke Probation for the reasons stated on the record. Document #83.

       IT IS SO ORDERED this 19th day of January, 2012.




                                                    _________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
